               UNITED STATES COURT OF INTERNATIONAL TRADE
__________________________________________
                                           )
OMAN FASTENERS, LLC,                       )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  ) Court No. 20-00037
                                           )
THE UNITED STATES;                         )
DONALD J. TRUMP, in his official           )
capacity as PRESIDENT OF THE               )
UNITED STATES;                             )
UNITED STATES CUSTOMS AND                  )
BORDER PROTECTION;                         )
MARK A. MORGAN, in his official            )
capacity as ACTING COMMISSIONER            )
OF U.S. CUSTOMS AND BORDER                 )
PROTECTION;                               )
UNITED STATES DEPARTMENT OF               )
COMMERCE; and                             )
WILBUR L. ROSS, Jr., in his official      )
capacity as SECRETARY OF COMMERCE,        )
                                          )
              Defendants.                 )
__________________________________________)

                                         COMPLAINT

       Oman Fasteners, LLC (“Oman Fasteners”), by and through its attorneys, brings this civil

action, alleging the following:

                                          SUMMARY

       1.      On January 24, 2020, President Donald J. Trump issued Proclamation 9980 impos-

ing a 25 percent ad valorem tariff on imports of so-called “derivative” steel products and a 10

percent ad valorem tariff on imports of “derivative” aluminum products, purportedly pursuant to

his power under Section 232 of the Trade Expansion Act of 1962, as amended (19 U.S.C. § 1862)

(“Section 232”), to protect the national security of the United States. See 85 Fed. Reg. 5281 (Jan.

29, 2020) (“Proclamation 9980”) (attached as Exhibit 1).


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       2.      Oman Fasteners is a manufacturer of professional grade steel nails used in the home

construction and industrial manufacturing industries. Its products are subject to the 25 percent ad

valorem tariffs imposed by Proclamation 9980. Because its U.S. sales of those products are a sig-

nificant percentage of the company’s overall revenue, it will be adversely affected by these tariffs.

Oman Products did not have an opportunity to provide input into the President’s decision to impose

these tariffs because the Secretary of Commerce did not undertake the required investigation or

publish any report of his findings. There was no public announcement about these tariffs until

January 24, 2020—the day Proclamation 9980 was issued.

       3.      Section 232 expressly limits the President’s authority to impose tariffs. Before the

President may do so, the Secretary of Commerce must first investigate whether imports of the

products at issue actually threaten to impair the national security. Within 270 days of beginning

that investigation, the Secretary must submit to the President, and publish in the Federal Register,

a report of his findings. 19 U.S.C. § 1862(b)(3). Within 90 days of receiving a report that such

imports do pose a threat, the President must decide whether he agrees and, if so, the nature and

duration of any remedial action. Id. § 1862(c)(1)(A)(ii). And within 15 days of making that deci-

sion, that action must be implemented. Id. § 1862(c)(1)(B).

       4.      None of these statutory requirements were met when Proclamation 9980 was is-

sued. The Secretary of Commerce never conducted a Section 232 investigation to determine

whether the derivative steel or aluminum products at issue threatened national security. The Sec-

retary did not submit a written report to the President, nor publish one in the Federal Register,

relating to those imports. Because there was no report, the statute’s deadlines for a Presidential

decision and implementation were also not met.




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       5.      Almost three years ago, in 2017, the Secretary investigated the effects of imports

of certain steel mill imports. On January 11, 2018 he submitted a report regarding the effect of

such imports on the national security to the President. U.S. Department of Commerce, Bureau of

Industry and Security, Office of Technology Evaluation, THE EFFECT OF IMPORTS OF STEEL ON

THE NATIONAL SECURITY: AN INVESTIGATION CONDUCTED UNDER SECTION 232 OF THE TRADE

EXPANSION ACT OF 1962, AS AMENDED (Jan. 11, 2018) (“Steel Report”) (attached as Exhibit 2).

       6.      That investigation (and the tariffs subsequently imposed by the President pursuant

to that investigation) did not cover any of the derivative articles of steel covered by Proclamation

9980. Even if they had, Proclamation 9980 would violate the deadlines imposed by Section 232.

Proclamation 9980 was issued 744 days after the President received the Steel Report and 640 days

after he was required to implement any action based on the Steel Report.

       7.      Similarly, in 2017, the Secretary investigated the effects of imports of certain alu-

minum imports. On January 17, 2018 he submitted a report regarding the effect of such imports

on the national security to the President. U.S. Department of Commerce, Bureau of Industry and

Security, Office of Technology Evaluation, THE EFFECT OF IMPORTS OF ALUMINUM ON THE

NATIONAL SECURITY: AN INVESTIGATION CONDUCTED UNDER SECTION 232 OF THE TRADE

EXPANSION ACT OF 1962, AS AMENDED (Jan. 17, 2018) (“Aluminum Report”) (attached as Exhibit

3).

       8.      That investigation (and the tariffs subsequently imposed by the President pursuant

to that investigation) did not cover any of the derivative articles of aluminum covered by Procla-

mation 9980. Even if they had, Proclamation 9980 would violate the deadlines imposed by Section

232. Proclamation 9980 was issued 738 days after the President received the Aluminum Report

and 634 days after he was required to implement any action based on the Aluminum Report.



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       9.      Proclamation 9980 is unlawful because it was issued contrary to the requirements

of Section 232. In issuing it, the President exceeded the powers delegated to him by Congress

under Section 232. The Proclamation is also unlawful because it denies Oman Fasteners, which is

similarly situated to manufacturers of derivative products of steel not listed in the Proclamation,

equal protection of the laws as guaranteed by the Fifth Amendment’s Due Process clause.

                                         JURISDICTION

       10.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § § 1581(i)(2) and

(4). Section 1581 provides that “the U.S. Court of International Trade shall have exclusive juris-

diction of any civil action commenced against the United States, its agencies, or its officers, that

arises out of any law of the United States providing for . . . tariffs, duties, fees, or other taxes on

the importation of merchandise for reasons other than the raising of revenue,” 28 U.S.C.

§ 1581(i)(2), and “administration and enforcement with respect to the matters referred to in para-

graphs (1)–(3) of this subsection {(i)}.” Id. § 1581(i)(4).

                                             PARTIES

       11.     Plaintiff Oman Fasteners is a company organized under the laws of the Sultanate

of Oman (“Oman”) with its primary place of business in Sohar, Oman. Its primary business is the

manufacturing of steel nails in Oman, and its primary market is the United States, which accounts

for a significant portion of its sales. Oman Fasteners acts as importer of record for virtually all the

steel nails it ships to the United States, including steel nails subject to Proclamation 9980. As the

importer of record, Oman Fasteners enters significant quantities of steel nails into the United States

that would be subject to a 25 percent ad valorem tariff pursuant to Proclamation 9980.

       12.     Defendant United States will be the recipient of the Section 232 tariffs that are the

subject of this suit and is the statutory defendant under sections 1581(i)(2) and (4).



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       13.     Defendant Donald J. Trump is the President of the United States. He issued Proc-

lamation 9980 that is the subject of this Complaint. He is sued in his official capacity only.

       14.     Defendant United States Customs and Border Protection (“CBP”) is the agency that

administers and enforces the tariffs imposed under Section 232, including the tariffs ordered pur-

suant to Proclamation 9980.

       15.     Defendant Mark A. Morgan is the Acting Commissioner of CBP. He is sued in his

official capacity only.

       16.     Defendant United States Department of Commerce (“Commerce”) is the agency

responsible by statute for initiating and conducting an investigation under Section 232 and for

providing findings and recommendations to the President of the United States. Proclamation 9980

purports to take action in response to certain undisclosed “assessments” and “recommendations”

of Commerce.

       17.     Defendant Wilbur L. Ross, Jr., is the Secretary of the United States Department of

Commerce. He is sued in his official capacity only.

                                           STANDING

       18.     Oman Fasteners has standing to bring this action pursuant to 28 U.S.C. § 2631(i),

which states that “{a}ny civil action of which the Court of International Trade has jurisdiction,

other than an action specified in subsections (a)–(h), may be commenced in the court by any person

adversely affected or aggrieved by agency action within the meaning of section 702 of title 5,”

which in turn states that “{a} person suffering legal wrong because of agency action, or adversely

affected or aggrieved by agency action within the meaning of a relevant statute, is entitled to judi-

cial review thereof.” 5 U.S.C. § 702.

       19.     Oman Fasteners has standing to challenge the Defendants’ unlawful acts in issuing

and implementing Proclamation 9980 imposing ad valorem tariffs of 25 percent on certain
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derivative articles of steel and 10 percent on certain derivative articles of aluminum. Oman Fas-

teners is a manufacturer of steel nails in Oman, which manufactures articles subject to the 25

percent ad valorem tariff on derivative articles of steel imposed by the challenged Proclamation.

Oman Fasteners is also the importer of record in the United States of the steel nails it manufactures

in Oman and is responsible under the Proclamation for paying the 25 percent ad valorem tariff.

Therefore, Oman Fasteners is a “person … adversely affected or aggrieved” by the issuance and

implementation of Proclamation 9980, within the meaning of 5 U.S.C. § 702, and will suffer con-

crete and particularized injury as a result of the issuance and implementation of Proclamation 9980.

                                               FACTS

I.      SECTION 232 OF THE TRADE EXPANSION ACT OF 1962

        20.     Section 232, titled “Safeguarding National Security,” authorizes the President,

upon a “finding” that “an article is being imported into the United States in such quantities or under

such circumstances as to threaten to impair the national security,” to take action “to adjust the

imports of the article and its derivatives so that such imports will not threaten to impair the national

security.” 19 U.S.C. § 1862(c)(1)(A)(ii). Section 232 dictates the administrative process required

before the President can make such an action. Id. § 1862(b).

        21.     A Section 232 action begins with a request from “the head of any department or

agency,” including the Secretary of Commerce himself, to the Secretary of Commerce, who “shall

immediately initiate an appropriate investigation to determine the effects on the national security

of imports of the article which is the subject of such request.” Id. § 1862(b)(1)(A). Commerce’s

Bureau of Industry and Security (“BIS”) conducts Section 232 investigations in accordance with

the federal regulations codified at 15 C.F.R. part 705.

        22.     Section 232 requires that the Secretary of Commerce conduct the investigation in

consultation with the Secretary of the Department of Defense (“Secretary of Defense”) and other

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U.S. officials, as appropriate, to determine the effects of the specified imports on the national se-

curity. Specifically, the Secretary of Commerce shall “immediately provide notice to the Secretary

of Defense of any investigation,” shall “consult with the Secretary of Defense regarding the meth-

odological and policy questions raised in any investigation,” and if appropriate, shall “hold public

hearings or otherwise afford interested parties an opportunity to present information and advice.”

19 U.S.C. § § 1862(b)(1)(B), (b)(2)(A). The “Secretary of Defense shall provide the Secretary {of

Commerce} an assessment of the defense requirements of any article” under investigation. Id.

§ 1862(b)(2)(B).

       23.     Within 270 days after initiating an investigation, the Secretary of Commerce “shall

submit to the President” and publish in the Federal Register “a report on the findings of such in-

vestigation with respect to the effect of the importation of such article in such quantities or under

such circumstances upon the national security and, based on such findings, the recommendations

of the Secretary for action or inaction under th{e} section.” Id. § 1862(b)(3)(A). “If the Secretary

finds that such article is being imported into the United States in such quantities or under such

circumstances as to threaten to impair the national security, the Secretary shall so advise the Pres-

ident in such report.” Id.

       24.     “Any portion of the report submitted by the Secretary {of Commerce} under

{§ 1862(b)(3)} (A) which does not contain classified information or proprietary information shall

be published in the Federal Register.” Id. § 1862(b)(3)(B).

       25.     A report by the Secretary of Commerce that finds that an article is being imported

into the United States in such quantities or under such circumstances as to threaten to impair the

national security triggers a duty of the President to act. Within 90 days, the President must “deter-

mine whether the President concurs with the finding of the Secretary.” Id. § 1862(c)(1)(A).



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Conversely, if the Secretary of Commerce’s report does not contain a finding that an article is

being imported into the United States in such quantities or under such circumstances as to threaten

to impair the national security, the President has neither a duty nor the authority to take any action

under Section 232. See id.

       26.     If the President concurs with the Secretary of Commerce that an article is being

imported into the United States in such quantities or under such circumstances as to threaten to

impair the national security, the President must “determine the nature and duration of the action

that, in the judgment of the President, must be taken to adjust the imports of the article and its

derivatives so that such imports will not threaten to impair the national security.” Id.

§ 1862(c)(1)(A)(ii). After making this determination, the President has 15 days to implement the

action. Id. § 1862(c)(1)(B).

       27.     Finally, the President must “submit to the Congress a written statement of the rea-

sons” explaining his determination “{b}y no later than the date that is 30 days after the date on

which the President makes any determinations.” Id. § 1862(c)(2).

II.    COMMERCE’S INVESTIGATION OF STEEL AND ALUMINUM ARTICLES
       UNDER SECTION 232

       28.     On April 19, 2017, Secretary of Commerce Wilbur Ross initiated an investigation

under Section 232 into the effects of certain steel imports on the national security of the United

States. As part of the investigation, Commerce collected written public comments, held a public

hearing, and consulted with the Secretary of Defense. Notice Request for Public Comments and

Public Hearing on Section 232 National Security Investigation of Imports of Steel, 82 Fed. Reg.

19,205 (April 26, 2017).

       29.     On April 26, 2017, Secretary Ross initiated an investigation under Section 232 into

the effects of aluminum imports on the national security of the United States. As part of the


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investigation, Commerce collected written public comments, held a public hearing, and consulted

with the Secretary of Defense. Notice of Request for Public Comments and Public Hearing on

Section 232 National Security Investigation of Imports of Aluminum, 82 Fed. Reg. 21, 509 (May

9, 2017).

        30.     On January 11, 2018, BIS issued the Steel Report. The Steel Report expressly stated

that the scope of the investigation was limited to certain still mill products (“steel articles”) de-

scribed and classified in the Harmonized Tariff System under subheadings 720610 through

721650, 721699 through 730110, 730210, 730240 through 730290, and 730410 through 730690.

See Steel Report at 21 (“Product Scope of the Investigation”). None of these products encompassed

derivative steel products such as Plaintiff’s steel nails.

        31.     The Steel Report observed that the United States’ domestic steel industry was in

decline, that shrinking “capacity utilization rates” were deterring capital investment and that for-

eign imports had contributed to the falloffs in domestic production. Steel Report at 3–5. “{T}he

Secretary of Commerce conclude{d} that the present quantities and circumstance of steel imports

are ‘weakening our internal economy’ and threaten to impair the national security as defined in

Section 232.” Id. at 5. Commerce identified global excess steel capacity as a circumstance that

contributes to the “weakening of our internal economy” that “threaten{s} to impair” the national

security as defined in Section 232. Id. at 5, 16. It explained that “U.S. steel production capacity

has remained flat since 2001, while other steel producing nations have increased their production

capacity, with China alone able to produce as much steel as the rest of the world combined.” Id. at

52. Commerce recommended that the President take immediate action to adjust the level of these

imports through quotas or tariffs. Id. at 58–61. Commerce recommended three alternative actions,




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each of which had the stated objective of enabling the U.S. steel industry to operate at an average

capacity utilization rate of 80 percent or better. Id. at 6–9.

        32.     On January 17, 2018, BIS issued the Aluminum Report. Like the Steel Report, the

Aluminum Report observed that the United States’ domestic aluminum industry was in decline

and that foreign imports had contributed to the falloffs in domestic production. Aluminum Report

at 3–5. As with steel, “the Secretary of Commerce { } concluded that the present quantities and

circumstance of aluminum imports are ‘weakening our internal economy’ and threaten to impair

the national security as defined in Section 232.” Id. at 5. Commerce identified global excess alu-

minum capacity as a circumstance that contributes to the “weakening of our internal economy”

that “threaten{s} to impair” the national security as defined in Section 232. Id. at 5, 16. It explained

that “Since 2000, there has been a steep decline in U.S. production,” which “corresponds with a

large increase in U.S. imports of primary aluminum.” Id. at 41. Commerce recommended that the

President take immediate action to adjust the level of these imports through quotas or tariffs. Id. at

107–109. Commerce recommended three alternative actions, each of which had the stated objec-

tive of enabling the U.S. aluminum industry to operate at an average capacity utilization rate of 80

percent or better. Id.

        33.     In the Steel and Aluminum Reports, Commerce explained that it analyzed the im-

pact of the subject steel and aluminum imports using a broad definition of “national security,” to

include not only the term “national defense” but also to “include{ } the general security and wel-

fare of certain industries, beyond those necessary to satisfy national defense requirements, which

are critical to minimum operations of the economy and government.” Steel Report at 1, 13–15

(quotation omitted); Aluminum Report at 1, 12–15.




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        34.     On February 18, 2018, the Secretary of Defense sent a letter to Commerce provid-

ing its position on the recommendations contained in the Steel Report. The Secretary of Defense

conveyed that in his view, “U.S. military requirements for steel and aluminum each only represent

about three percent of U.S. production” and “{t}herefore, DoD does not believe that the findings

in the reports {by Commerce} impact the ability of DoD programs to acquire the steel or aluminum

necessary to meet national defense requirements.” Memorandum from Sec’y of Def. to Sec’y of

Commerce re: Response to Steel and Aluminum Policy Recommendations (Feb. 18, 2018) (“De-

fense Memorandum”) at 1 (attached as Exhibit 4). The Secretary of Defense also shared that the

Department of Defense “continues to be concerned about the negative impact on our key allies”

of “the recommended options within the reports.” Id.

III.    THE PROCLAMATIONS ON ARTICLES OF STEEL AND ALUMINUM

        35.     Based on the Steel and Aluminum Reports, on March 8, 2018, President Donald J.

Trump issued Proclamation 9705 and Proclamation 9704 pursuant to Section 232.

        36.     Proclamation 9705 was titled “Adjusting Imports of Steel into the United States”

and imposed 25 percent ad valorem tariffs on U.S. imports of certain steel products. See 83 Fed.

Reg. 11625 (Mar. 15, 2018) (“Proclamation 9705”) (attached as Exhibit 5).

        37.     Proclamation 9705 stated “that Canada and Mexico present a special case” given

their “shared commitment {with the United States} to support . . . each other in addressing national

security concerns.” Id. at 11626. Accordingly, the President “determined that the necessary and

appropriate means to address the threat to national security posed by imports of steel articles from

Canada and Mexico is to continue ongoing discussions with these countries” and exempt them

“from the tariff, at least at this time.” Id.

        38.     The new 25-percent steel tariffs were scheduled to take effect as to all countries

other than Canada and Mexico on March 23, 2018.
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        39.       Proclamation 9705 imposed tariffs on the following articles:

              •   flat-rolled products provided for in headings 7208, 7209, 7210,
                  7211, 7212, 7225 or 7226;

              •   bars and rods provided for in headings 7213, 7214, 7215, 7227, or
                  7228; angles, shapes and sections of {heading} 7216 (except sub-
                  headings 7216.61.00, 7216.69.00 or 7216.91.00); wire provided for
                  in headings 7217 or 7229; sheet piling provided for in subheading
                  7301.10.00; rails provided for in subheading 7302.10; fish-plates
                  and sole plates provided for in subheading 7302.40.00; and other
                  products of iron or steel provided for in subheading 7302.90.00;

              •   tubes, pipes and hollow profiles provided for in heading 7304, or
                  7306; tubes and pipes provided for in heading 7305;

              •   ingots, other primary forms and semi-finished products provided for
                  in heading 7206, 7207 or 7224; and

              •   products of stainless steel provided for in heading 7218, 7219,7220,
                  7221, 7222 or 7223.

Id. at 11629.

        40.       Proclamation 9705 made no reference to derivative articles of steel, or to the spe-

cific derivative articles of steel included in Proclamation 9980, including the steel nails imported

by Plaintiff.

        41.       Proclamation 9705 instructed that:

                  The Secretary shall continue to monitor imports of steel articles and
                  shall, from time to time, in consultation with the Secretary of State,
                  the Secretary of the Treasury, the Secretary of Defense, the USTR,
                  the Assistant to the President for National Security Affairs, the As-
                  sistant to the President for Economic Policy, the Director of the
                  Office of Management and Budget, and such other senior Executive
                  Branch officials as the Secretary deems appropriate, review the sta-
                  tus of such imports with respect to the national security. The
                  Secretary shall inform the President of any circumstances that in the
                  Secretary’s opinion might indicate the need for further action by the
                  President under section 232 of the Trade Expansion Act of 1962, as
                  amended. The Secretary shall also inform the President of any cir-
                  cumstance that in the Secretary’s opinion might indicate that the
                  increase in duty rate provided for in this proclamation is no longer
                  necessary.

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Id. at 11628.

        42.       Proclamation 9704 was titled a “Adjusting Imports of Aluminum into the United

States,” Proclamation No. 9704, imposing 10 percent ad valorem tariffs on U.S. imports of certain

aluminum products. See 83 Fed. Reg. 11619 (Mar. 15, 2018) (“Proclamation 9704”) (attached as

Exhibit 6).

        43.       Proclamation 9704 stated “that Canada and Mexico present a special case” given

their “shared commitment {with the United States} to support{ } each other in addressing national

security concerns.” Id. at 11620. Accordingly, the President “determined that the necessary and

appropriate means to address the threat to national security posed by imports of aluminum articles

from Canada and Mexico is to continue ongoing discussions with these countries” and exempt

them “from the tariff, at least at this time.” Id.

        44.       The new 10-percent aluminum tariffs were scheduled to take effect as to all coun-

tries other than Canada and Mexico on March 23, 2018.

        45.       Proclamation 9704 imposed tariffs on the following articles:

              •   unwrought aluminum provided for in heading 7601 {of the Harmo-
                  nized Tariff Schedule};

              •   bars, rods and profiles provided for in heading 7604; wire provided
                  for in heading 7605;

              •   plates, sheets and strip provided for in 7606; foil provided for in
                  heading 7607;

              •   tubes, pipes and tube or pipe fittings provided for in heading 7608
                  and 7609; and

              •   castings and forgings of aluminum provided for in subheading
                  7616.99.51.

Id. at 11623.




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         46.    Proclamation 9704 made no reference to derivative articles of aluminum, or to the

specific derivative articles of aluminum included in Proclamation 9980.

         47.    Like Proclamation 9705, Proclamation 9704 also instructed that:

                The Secretary shall continue to monitor imports of aluminum arti-
                cles and shall, from time to time, in consultation with the Secretary
                of State, the Secretary of the Treasury, the Secretary of Defense, the
                USTR, the Assistant to the President for National Security Affairs,
                the Assistant to the President for Economic Policy, the Director of
                the Office of Management and Budget, and such other senior Exec-
                utive Branch officials as the Secretary deems appropriate, review the
                status of such imports with respect to the national security. The Sec-
                retary shall inform the President of any circumstances that in the
                Secretary’s opinion might indicate the need for further action by the
                President under section 232 of the Trade Expansion Act of 1962, as
                amended. The Secretary shall also inform the President of any cir-
                cumstance that in the Secretary’s opinion might indicate that the
                increase in duty rate provided for in this proclamation is no longer
                necessary.

Id. at 11622.

IV.      SUBSEQUENT EXEMPTIONS FROM PROCLAMATIONS 9705 AND 9704

         48.    In Proclamation 9740 of April 30, 2018 (Adjusting Imports of Steel into the United

States), the President imposed quotas on articles of steel from South Korea and exempted articles

of steel from South Korea from the 25 percent ad valorem tariff. 83 Fed. Reg 20,683 (May 7,

2018).

         49.    In Proclamation 9758 of May 31, 2018 (Adjusting Imports of Aluminum into the

United States), the President imposed quotas on articles of aluminum from Argentina and ex-

empted articles of aluminum from Argentina from the 10 percent ad valorem tariff, and exempted

articles of aluminum from Australia from the 10 percent ad valorem tariff without imposing any

quota on articles of aluminum from Australia. 83 Fed. Reg 25,849 (June 5, 2018).

         50.    In Proclamation 9759 of May 31, 2018 (Adjusting Imports of Steel into the United

States), the President imposed quotas on articles of steel from Argentina and Brazil and exempted
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articles of steel from Argentina and Brazil from the 25 percent ad valorem tariff, and exempted

articles of steel from Australia from the 25 percent ad valorem tariff without imposing any quota

on articles of steel from Australia. 83 Fed. Reg 25,857 (June 5, 2018).

       51.     On May 17, 2019, in conjunction with negotiation of the United States-Mexico-

Canada Agreement (“USMCA”), the United States announced that it had agreed to exempt articles

of aluminum from Canada and Mexico the 10 percent ad valorem tariff, and articles of steel from

Canada and Mexico from the 25 percent ad valorem tariff.

       52.     The President did not impose any quotas on articles of aluminum or steel from

Canada and Mexico. Joint Statement by the United States and Mexico on Section 232 Duties on

Steel and Aluminum (attached as Exhibit 7); Joint Statement by the United States and Canada on

Section 232 Duties on Steel and Aluminum (attached as Exhibit 8).

       53.     As a result, articles of aluminum from Argentina, Australia, Canada and Mexico

are currently exempt from the 10 percent ad valorem tariff imposed by Proclamation 9704, and

articles of steel from Argentina, Australia, Brazil, Canada, Mexico and South Korea are currently

exempt from the 25 percent ad valorem tariff imposed by Proclamation 9705.

V.     PROCLAMATION 9980

       54.     On January 24, 2020, without any prior notice and nearly two years after issuing

Proclamation 9705 and Proclamation 9704, the President issued Proclamation 9980, imposing 10

percent ad valorem tariffs on U.S. imports of certain derivative products manufactured from alu-

minum imposing a 25 percent ad valorem tariff on U.S. imports of certain derivative products

manufactured from steel, effective February 8, 2020. 85 Fed. Reg. 5281 (Jan. 29, 2020).

       55.     In support of his legal authority to issue Proclamation 9980, the President refers to

the Aluminum Report and Steel Report, and to his instructions in Proclamations 9704 and 9705



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that the Secretary of Commerce inform the President of any need for further action under Section

232:

               1. On January 11, 2018, the Secretary of Commerce (Secretary)
               transmitted to me a report on his investigation into the effect of im-
               ports of steel articles on the national security of the United States,
               and on January 19, 2018, the Secretary transmitted to me a report on
               his investigation into the effect of imports of aluminum articles on
               the national security of the United States. Both reports were issued
               pursuant to section 232 of the Trade Expansion Act of 1962, as
               amended (19 U.S.C. 1862).

               ....

               4. In Proclamation 9704 and Proclamation 9705, I directed the Sec-
               retary to monitor imports of aluminum articles and steel articles,
               respectively, and inform me of any circumstances that in the Secre-
               tary’s opinion might indicate the need for further action under
               section 232 of the Trade Expansion Act of 1962, as amended.

85 Fed. Reg. 5281.

       56.     Proclamation 9980 states that further action under Section 232 is warranted because

the Secretary of Commerce has “informed” the President that “domestic steel producers’ capacity

utilization has not stabilized for an extended period of time at or above { } 80 percent,” and

“{c}apacity utilization in the aluminum industry has improved, but it is still below the target ca-

pacity utilization that the Secretary recommended in his report.” Id. at 5282.

       57.     Proclamation 9980 also states that the Secretary of Commerce has “informed” the

President that, “{a}lthough imports of aluminum articles and steel articles {included in Proclama-

tions 9704 and 9705} have declined since the imposition of the tariffs and quotas {pursuant to

those Proclamations}, . . . imports of certain derivatives of aluminum articles and imports of cer-

tain derivatives of steel articles have significantly increased,” and that the “net effect of the

increase of imports of these derivatives has been to erode the customer base for U.S. producers of

aluminum and steel.” Id.


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       58.       Proclamation 9980 further states that “{i}t is the Secretary’s assessment that for-

eign producers of these derivative articles have increased shipments of such articles to the United

States to circumvent the duties on aluminum articles and steel articles imposed in Proclamation

9704 and Proclamation 9705, and that imports of these derivative articles threaten to undermine

the actions taken to address the risk to the national security of the United States found in Procla-

mation 9704 and Proclamation 9705.” Id.

       59.       Proclamation 9980 imposed 10 percent tariffs on the following derivative articles

of aluminum:

             •   stranded wire, cables, plaited bands and the like, including slings
                 and similar articles, of aluminum and with steel core, not electrically
                 insulated; the foregoing fitted with fittings or made up into articles
                 (described in subheading 7614.10.50);

             •   stranded wire, cables, plaited bands and the like, including slings
                 and similar articles, of aluminum and not with steel core, not elec-
                 trically insulated; the foregoing comprising electrical conductors,
                 not fitted with fittings or made up into articles (described in sub-
                 heading 7614.90.20);

             •   stranded wire, cables, plaited bands and the like, including slings
                 and similar articles, of aluminum and not with steel core, not elec-
                 trically insulated; the foregoing not comprising electrical
                 conductors, not fitted with fittings or made up into articles (de-
                 scribed in subheading 7614.90.40);

             •   stranded wire, cables, plaited bands and the like, including slings
                 and similar articles, of aluminum and not with steel core, not elec-
                 trically insulated; the foregoing fitted with fittings or made up into
                 articles (described in subheading 7614.90.50);

             •   bumper stampings of aluminum, the foregoing comprising parts and
                 accessories of the motor vehicles of headings 8701 to 8705 (de-
                 scribed in subheading 8708.10.30); and

             •   body stampings of aluminum, for tractors suitable for agricultural
                 use (described in subheading 8708.29.21).

Id. at 5287–88.


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        60.       These tariffs do not apply to derivative articles of aluminum from countries previ-

ously exempted from the 10 percent ad valorem tariff imposed by Proclamation 9704, i.e.,

Argentina, Australia, Canada and Mexico.

        61.       Proclamation 9980 imposed 25 percent tariffs on the following derivative articles

of steel:

              •   nails, tacks (other than thumb tacks), drawing pins, corrugated nails,
                  staples (other than those of heading 8305) and similar articles, of
                  iron or steel, whether or not with heads of other material (excluding
                  such articles with heads of copper), suitable for use in powder-actu-
                  ated handtools, threaded (described in subheading 7317.00.30); and

              •   nails, tacks (other than thumb tacks), drawing pins, corrugated nails,
                  staples (other than those of heading 8305) and similar articles, of
                  iron or steel, whether or not with heads of other material (excluding
                  such articles with heads of copper), of one piece construction,
                  whether or not made of round wire; the foregoing described in sta-
                  tistical reporting numbers 7317.00.55.03, 7317.00.55.05,
                  7317.00.55.07, 7317.00.55.60, 7317.00.55.80 or 7317.00.65.60
                  only and not in other statistical reporting numbers of subheadings
                  7317.00.55 and 7317.00.65;

              •   bumper stampings of steel, the foregoing comprising parts and ac-
                  cessories of the motor vehicles of headings 8701 to 8705 (described
                  in subheading 8708.10.30); and

              •   body stampings of steel, for tractors suitable for agricultural use (de-
                  scribed in subheading 8708.29.21).

Id. at 5290–91.

        62.       These tariffs do not apply to derivative articles of steel from countries previously

exempted from the 25 percent ad valorem tariff imposed by Proclamation 9705, i.e., Argentina,

Australia, Brazil, Canada, Mexico and South Korea.

        63.       Proclamation 9980 states that these articles were selected if the following three cri-

teria are all satisfied:

                  (a)    the aluminum article or steel article represents, on average,
                  two-thirds or more of the total cost of materials of the derivative

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                 article;”

                 (b)     import volumes of such derivative article increased year-to-
                 year since June 1, 2018, following the imposition of the tariffs in
                 Proclamation 9704 and Proclamation 9705 . . . in comparison to im-
                 port volumes of such derivative article during the 2 preceding years;
                 and

                 (c)     import volumes of such derivative article following the im-
                 position of the tariffs exceeded the 4 percent average increase in the
                 total volume of goods imported into the United States during the
                 same period since June 1, 2018.

Id. at 5282.

VI.    PROCLAMATION 9980 IS NOT AUTHORIZED UNDER SECTION 232

       64.       To the extent the Secretary of Commerce provided information to the President

supporting the action taken in Proclamation 9980, such information has not been made available

to the public.

        65.      The Secretary of Commerce has not conducted an investigation under Section 232,

nor has he submitted to the President a report of an investigation under Section 232, concerning

the effect of imports of derivative articles of steel or aluminum on the national security of the

United States.

        66.      The April 19, 2017 investigation into the effects of imports of certain steel mill

products on the national security of the United States and the resulting January 11, 2018 Steel

Report, on which Proclamation 9980 purports to rely, did not involve any of the derivative articles

of steel subject to Proclamation 9980, or derivative articles of steel in general.

       67.       The April 26, 2017 investigation into the effects of aluminum imports on the na-

tional security of the United States and the resulting January 17, 2018 Aluminum Report, on which

Proclamation 9980 purports to rely, did not involve any of the derivative articles of aluminum

subject to Proclamation 9980, or derivative articles of aluminum in general.


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        68.        Pursuant to the express statutory limitations of Section 232, the Secretary of Com-

merce had to complete those investigations within 270 days, a period which expired in January

2018. The Secretary of Commerce is not authorized under Section 232 to make any additional

findings or recommendations to the President regarding the April 2017 investigations after that

date.

        69.        The Steel and Aluminum Reports were released in January 2018, over two years

ago.

        70.        Pursuant to Section 232, the President had to announce his determination regarding

the Steel and Aluminum Reports within 90 days, a period that expired in April 2018. The President

is not authorized under Section 232 to make any additional determination, or take any additional

action, with regard to the Steel and Aluminum Reports after that date.

        71.        The President announced his determination based on the Steel and Aluminum Re-

ports in Proclamations 9704 and 9705 in March 2018, nearly two years ago.

        72.        Pursuant to Section 232, the President had to implement any action based on Proc-

lamations 9704 and 9705 within 15 days, a period that expired in March 2018. The President is

not authorized under Section 232 to take any steps to implement Proclamations 9704 and 9705

after that date.

VII.    THE TARIFFS IMPOSED ARE NOT RATIONALLY RELATED TO THE PURPORTED
        THREAT TO THE NATIONAL SECURITY OF THE UNITED STATES

        73.        Proclamation 9980 makes no assertion regarding the performance of any domestic

industry producing one or more of the included derivative articles of steel or aluminum, including

whether any such domestic industry has experienced a decline.




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       74.     Proclamation 9980 makes no assertion regarding the effect on the national security

of the United States of a decline in any domestic industry producing one or more of the included

derivative articles of steel or aluminum.

       75.     The sole nexus provided in Proclamation 9980 between the derivative articles of

steel or aluminum included in Proclamation 9980 and the national security of the United States is

that the importation of such derivative articles, in lieu of domestic manufacturing of such deriva-

tive articles, depresses the domestic demand for articles of steel and aluminum that are used in the

production of such derivative articles.

       76.     However, the derivative articles of steel and aluminum subject to Proclamation

9980 represent a negligible portion of overall U.S. imports of derivative articles of steel and alu-

minum and a negligible portion of the overall U.S. market for derivative articles of steel and

aluminum.

       77.     For example, imports of the derivative articles of steel included in Proclamation

9980 from countries other than Argentina, Australia, Brazil, Canada, Mexico and South Korea

account for approximately 1 percent (calculated by value) of imports of all derivative articles of

steel from countries other than Argentina, Australia, Brazil, Canada, Mexico and South Korea.

       78.     Conversely, Proclamation 9980 omits numerous derivative articles of steel and alu-

minum that represent a far larger portion of overall U.S. imports of derivative articles of steel and

aluminum and a far larger portion of the overall U.S. market for derivative articles of steel and

aluminum.

       79.     For example, imports of stranded steel wire and other articles of Harmonized Tariff

Schedule heading 7312—derivative articles of steel not included in Proclamation 9980—from

countries other than Argentina, Australia, Brazil, Canada, Mexico and South Korea account for



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approximately 3 percent (calculated by value) of imports of all derivative articles of steel from

countries other than Argentina, Australia, Brazil, Canada, Mexico and South Korea.

       80.     Moreover, in selecting the derivative articles of steel and aluminum to include in

Proclamation 9980, the President did not apply the criteria set forth in Proclamation 9980, which

purported to include any derivative articles of steel where (a) steel represents, on average, two-

thirds or more of the total cost of materials of the derivative article; (b) import volumes of such

derivative article increased year-to-year since June 1, 2018, following the imposition of the tariffs

in Proclamation 9705, in comparison to import volumes of such derivative article during the 2

preceding years; and (c) import volumes of such derivative article following the imposition of the

tariffs exceeded the 4 percent average increase in the total volume of goods imported into the

United States during the same period since June 1, 2018.

       81.     For example, stranded steel wire and other articles of Harmonized Tariff Schedule

heading 7312 are articles for which the steel content represents, on average, more than two-thirds

of the total cost of materials and for which import value increased by 41 percent over the twenty-

four-month period, and 28 percent over the twelve month period, ending on June 1, 2019. Such

derivative articles were not included in the scope of the derivative articles subject to additional 25

percent tariffs under Proclamation 9980.

       82.     Finally, Proclamation 9980 provides no rationale for exempting derivative articles

of aluminum from Argentina, Australia, Canada and Mexico and derivative articles of steel from

Argentina, Australia, Brazil, Canada, Mexico and South Korea.

       83.     Articles of steel and from these countries were exempted from the tariffs imposed

by Proclamations 9704 and 9705 based on quotas imposed on such articles or on other agreements

between the United States and each exempted country as to trade in such articles.



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          84.   Proclamation 9980 does not impose quotas on derivative articles of steel or alumi-

num from Argentina, Australia, Brazil, Canada, Mexico or South Korea, nor does Proclamation

9980 indicate any ongoing negotiations with Argentina, Australia, Brazil, Canada, Mexico or

South Korea that could otherwise mitigate any effect that importation of derivative articles from

these countries might otherwise have.

          85.   The exemptions applicable to derivative articles from Argentina, Australia, Brazil,

Canada, Mexico or South Korea account for approximately 40 percent of imports of those deriva-

tive articles into the United States. See Chad P. Bown, Trump’s steel and aluminum tariffs are

cascading out of control (attached as Exhibit 9).

                   COUNT I – ULTRA VIRES ACTS BY THE PRESIDENT
                         AND SECRETARY OF COMMERCE

          86.   Oman Fasteners incorporates by reference paragraphs 1 through 85 of this Com-

plaint.

          87.   Congress has the exclusive “power to lay and collect taxes, duties, imposts and

excises” and “to regulate Commerce with foreign nations.” U.S. CONST. art. 1, § 8.

          88.   Through Section 232, Congress has vested the President with certain authority to

regulate commerce with foreign nations in response to imports into the United States in such quan-

tities or under such circumstances as to threaten to impair the national security of the United States.

          89.   The President has no statutory authority to regulate commerce with foreign nations

in response to imports into the United States in such quantities or under such circumstances as to

threaten to impair the national security of the United States other than under the statutory provi-

sions of Section 232.




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       90.       The President has no independent constitutional authority to regulate commerce

with foreign nations in response to imports into the United States in such quantities or under such

circumstances as to threaten to impair the national security of the United States.

       91.       Section 232 delineates the procedure that the Secretary of Commerce and President

must follow before the President may take any action with respect to imports into the United States

in such quantities or under such circumstances as to threaten to impair the national security of the

United States.

       92.       Section 232 also specifies the determinations that the Secretary of Commerce and

President must make before the President may take any action with respect to imports into the

United States in such quantities or under such circumstances as to threaten to impair the national

security of the United States.

       93.       With respect to the Secretary of Commerce, Section 232 requires that he “immedi-

ately initiate and appropriate investigation,” and “immediately provide notice to the Secretary of

Defense”; that “in the course of {the} investigation” he shall “consult with the Secretary of De-

fense” and “appropriate officers of the United States”; if “appropriate and after reasonable notice,

hold public hearings or otherwise afford interested parties an opportunity to present information

and advice”; and, “no later than . . . 270 days after the date on which {the} investigation is initiated

. . . . , submit to the President a report on the findings of such investigation,” which “shall be pub-

lished in the Federal Register” except for any portion that contains classified or proprietary

information. 19 U.S.C. § 1682(b)(2)–(3).

        94.      With respect to the President, Section 232 requires that “within 90 days after re-

ceiving a report” issued under Section 232 by the Secretary of Commerce, in which the Secretary

of Commerce “finds that an article is being imported into the United States in such quantities or



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under such circumstances as to threaten to impair the national security,” the President shall “de-

termine whether {he} concurs” and, if so, “determine the nature and duration of the action that . . .

must be taken to adjust the imports of the article and its derivatives so that such imports will not

threaten to impair the national security.” 19 U.S.C. § 1682(c)(1)(A). The President must then im-

plement any such action “no later than the date that is 15 days after the day on which the President

determines to take action.” Id. at § 1682(c)(1)(B).

       95.     In stark contrast to this proscribed process, Proclamation 9980 states that the Sec-

retary of Commerce “informed” the President that domestic steel and aluminum capacity

utilization had not stabilized at or above the 80 percent level, “informed” the President that imports

of certain derivative articles of steel and aluminum had increased, made an “assessment” that such

imports of these derivative articles “threaten to undermine the actions taken” by the President in

Proclamations 9704 and 9705 “to address the risk to the national security of the United States

found in Proclamation 9704 and Proclamation 9705,” and “assessed” that reducing imports of

certain derivative articles would “address the threatened impairment of the national security of the

United States.” 85 Fed. Reg. 5281–82.

       96.     The Secretary of Commerce did not provide such “information” or make such “as-

sessments” pursuant to an investigation under Section 232, nor did he do so in a report submitted

within 270 days of the initiation of an investigation under Section 232.

       97.     There is no indication that the Secretary of Commerce notified or consulted with

the Secretary of Defense of any other officer of the United States, as required under Section 232.

       98.     The Secretary of Commerce did not notify the public or provide an opportunity for

public comment.




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          99.    No portion of the Secretary of Commerce’s “information” or “assessments” was

published in the Federal Register or any other place.

          100.   In short, the Secretary of Commerce complied with none of the requirements of

Section 232.

          101.   Accordingly, the “information” provided, and “assessments” made, by the Secre-

tary of Commerce were acts outside the legal authority of the Secretary of Commerce and cannot

form the basis of an action taken by the President under Section 232 to adjust the imports of an

article and its derivatives so that such imports will not threaten to impair the national security.

          102.   The Secretary of Commerce submitted the Steel Report and Aluminum Report to

the president in January 2018, more than two years before the President issued Proclamation 9980.

          103.   Because the elapsed time far exceeds the 90 days permitted under Section 232 for

a determination by the President, the Steel Report and Aluminum Report cannot form the basis of

an action taken by the President under Section 232 to adjust the imports of an article and its deriv-

atives so that such imports will not threaten to impair the national security.

          104.   The President issued Proclamation 9705 and Proclamation 9704 on March 8, 2018,

nearly two years before the President issued Proclamation 9980.

          105.   Because the elapsed time far exceeds the 15 days permitted under Section 232 for

implementation of a determination by the President, Proclamation 9705 and Proclamation 9704

cannot form the basis of an action taken by the President under Section 232 to adjust the imports

of an article and its derivatives so that such imports will not threaten to impair the national security.

          106.   Accordingly, Proclamation 9980 is contrary to Section 232 and is therefore void.

                     COUNT II – UNCONSTITUTIONAL DELEGATION

          107.   Oman Fasteners incorporates by reference paragraphs 1 through 85 of this Com-

plaint.
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       108.      Congress has the exclusive “power to lay and collect taxes, duties, imposts and

excises” and “to regulate Commerce with foreign nations.” U.S. CONST. art. 1, § 8.

       109.      Through Section 232, Congress has vested the President with certain authority to

regulate commerce with foreign nations in response to imports into the United States in such quan-

tities or under such circumstances as to threaten to impair the national security of the United States.

       110.      The President has no statutory authority to regulate commerce with foreign nations

in response to imports into the United States in such quantities or under such circumstances as to

threaten to impair the national security of the United States other than the specific statutory provi-

sions of Section 232.

       111.      The President has no independent constitutional authority to regulate commerce

with foreign nations in response to imports into the United States in such quantities or under such

circumstances as to threaten to impair the national security of the United States.

       112.      Section 232 delineates the procedure that the Secretary of Commerce and President

must follow before the President may take any action with respect to imports into the United States

in such quantities or under such circumstances as to threaten to impair the national security of the

United States.

       113.      Section 232 also specifies the determinations that the Secretary of Commerce and

President must make before the President may take any action with respect to imports into the

United States in such quantities or under such circumstances as to threaten to impair the national

security of the United States.

       114.      With respect to the Secretary of Commerce, Section 232 requires that he “immedi-

ately initiate and appropriate investigation,” and “immediately provide notice to the Secretary of

Defense”; that “in the course of {the} investigation” he shall “consult with the Secretary of



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Defense” and “appropriate officers of the United States”; if “appropriate and after reasonable no-

tice, hold public hearings or otherwise afford interested parties an opportunity to present

information and advice”; and, “no later than . . . 270 days after the date on which {the} investiga-

tion is initiated . . . , submit to the President a report on the findings of such investigation,” which

“shall be published in the Federal Register” except for any portion that contains classified or pro-

prietary information. 19 U.S.C. § 1682(b)(2)–(3).

        115.    The Secretary of Commerce did not comply with any of these requirements with

regard to the “information” and “assessments” he provided to the President in connection with

Proclamation 9980.

        116.    With respect to the President, Section 232 requires that “within 90 days after re-

ceiving a report” issued under Section 232 by the Secretary of Commerce, in which the Secretary

of Commerce “finds that an article is being imported into the United States in such quantities or

under such circumstances as to threaten to impair the national security,” the President shall “de-

termine whether {he} concurs” and, if so, “determine the nature and duration of the action that . . .

must be taken to adjust the imports of the article and its derivatives so that such imports will not

threaten to impair the national security.” 19 U.S.C. § 1682(c)(1)(A). The President must then im-

plement any such action “no later than the date that is 15 days after the day on which the President

determines to take action.” Id. at § 1682(c)(1)(B).

        117.    The President did not comply with any of these requirements when he issued Proc-

lamation 9980.

        118.    In addition, the “information” and “assessments” the President received from the

Secretary of Commerce in connection with Proclamation 9980 were not the report and findings




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required before the President can take any action under Section 232 to adjust the imports of an

article and its derivatives so that such imports will not threaten to impair the national security.

          119.   Nevertheless, Proclamation 9980 purports to be an exercise of the President’s au-

thority under Section 232.

          120.   As applied by the President and Secretary of Commerce with respect to Proclama-

tion 9980, Section 232 is an unconstitutional delegation of Commerce’s exclusive power to “lay

and collect . . . duties” and “to regulate Commerce with foreign nations,” U.S. CONST. art. 1, § 8,

devoid of an intelligible principle.

          121.   Accordingly, Proclamation 9980 is not a constitutional exercise of the President’s

authority under Section 232 and is therefore void.

                              COUNT III – EQUAL PROTECTION

          122.   Oman Fasteners incorporates by reference paragraphs 1 through 85 of this Com-

plaint.

          123.   The equal protection of the laws of the United States is guaranteed by the Fifth

Amendment’s Due Process requirement, which prohibits the government from unjustifiably treat-

ing similarly situated persons differently. Bolling v. Sharpe, 347 U.S. 497, 499 (1954). A

classification that “neither burdens a fundamental right nor targets a suspect class” will be upheld

“so long as it bears a rational relation to some legitimate end.” Romer v. Evans, 517 U.S. 620, 631

(1996); Armour v. City of Indianapolis, 566 U.S. 673, 680 (2012).

          124.   Oman Fasteners is in all relevant respects similarly situated to manufacturers of

derivative products of steel that are not listed in Proclamation 9980, despite such derivative articles

meeting the three criteria set forth by the President for inclusion in Proclamation 9980.

          125.   Oman Fasteners is in all relevant respects similarly situated to importers into the

United States of derivative products of steel that are not listed in Proclamation 9980, despite such
                                                  29
derivative articles meeting the three criteria set forth by the President for inclusion in Proclamation

9980.

        126.    Oman Fasteners is in all relevant respects similarly situated to manufacturers of

derivative products of steel that are listed in Proclamation 9980, but which are exempt from the 25

percent ad valorem tariff on derivative steel products because such manufacturers are located in

Argentina, Australia, Brazil, Canada, Mexico or South Korea and/or the 10 percent ad valorem

tariff on derivative aluminum products because such manufacturers are located in Argentina, Aus-

tralia, Canada or Mexico.

        127.    Oman Fasteners is in all relevant respects similarly situated to importers into the

United States of derivative products of steel that are listed in Proclamation 9980, but which are

exempt from the 25 percent ad valorem tariff on derivative steel products because such importers

source their product in Argentina, Australia, Brazil, Canada, Mexico or South Korea and/or the 10

percent ad valorem tariff on derivative aluminum products because such importers source their

product in Argentina, Australia, Canada or Mexico.

        128.    Proclamation 9980 purports to remove the threatened impairment of the national

security of the United States by adjusting importation of derivative articles of steel and aluminum

that could displace demand for domestic articles of steel and aluminum used to manufacture such

derivative articles.

        129.    The inclusion of certain steel nails as derivative articles subject to Proclamation

9980, and exclusion of other derivative articles from Proclamation 9980, despite such other deriv-

ative articles meeting the three criteria for inclusion set forth in Proclamation 9980, and despite

the importation of such other derivative articles into the United States displacing a greater portion




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of domestic demand for articles of steel, is not rationally related to the stated purpose of Procla-

mation 9980.

       130.    The inclusion of certain derivative articles of steel manufactured in Oman in Proc-

lamation 9980, and exclusion of identical derivative articles of steel manufactured in Argentina,

Australia, Brazil, Canada, Mexico or South Korea, despite derivative articles manufactured in

some of the excluded countries displacing a greater portion of domestic demand for articles of

steel and aluminum, is not rationally related to the stated purpose of Proclamation 9980.

       131.    Accordingly, because there is no legitimate governmental purpose for the disparate

treatment of Oman Fasteners, Proclamation 9980 violates equal protection and is unconstitutional.

                          DEMAND FOR JUDGMENT AND RELIEF

       WHEREFORE, Plaintiff respectfully requests this Court to hold that this Court:

       a.      Enter judgment in favor of Oman Fasteners and declare Proclamation 9980 void;

       b.      Permanently enjoin Defendants from implementing Proclamation 9980 or enforc-

               ing it against Oman Fasteners;

       c.      Order CBP to refund Oman Fasteners any duties collected pursuant to Proclamation

               9980;

       d.      Grant such additional relief as the Court may deem just and proper.



Dated: February 7, 2020                                      /s/ Michael P. House
                                                             Michael P. House
                                                             Andrew Caridas
                                                             Shuaiqi Yuan
                                                             PERKINS COIE LLP
                                                             700 Thirteenth St., NW
                                                             Washington, D.C. 20005
                                                             202-654-6288
                                                             mhouse@perkinscoie.com

                                                             Counsel to Oman Fasteners
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